Filer’s Name, Address, Phone, Fax, Email:

PAULINA GARGA-CHMIEL

c/o Dykema Gossett PLLC

10 South Wacker Drive, Suite 2300
Chicago, Illinois 60606

Tel. (312) 627-5662

Fax (866) 561-3142

Email: PGarga@dykema.com hip 2090-6 (11/2021)

Debtor: Sunshine Helicopters, Inc. Case No.: 24-00989

Joint Debtor: .
(if any) Chapter: 7

[if adversary proceeding, complete the information below. Use “et al.” if multiple parties.] Adversary Proceeding No.:
Plaintiff(s):

vs.
Defendant(s):

APPLICATION TO APPEAR PRO HAC VICE
[Attach Declaration of Counsel in support of application. $300.00 assessment required — see Declaration, paragraph 7.]

Name of Attorney: | Paulina Garga-Chmiel

Party Represented: | First Savings Bank

Cuyler Shaw

Name/Address | C/o Ashford & Wriston LLP
of Local Counsel; | 999 Bishop Street, Ste. 1400
Honolulu, Hawaii 96813

Pursuant to LR 83.1(e) of the Local Rules of Practice for the United States District Court for the District of Hawaii,
the undersigned applies for an order permitting the above-named attorney to appear and participate as counsel
pro hac vice for the above-named party in all matters in the above-captioned case or proceeding. This request
is based on the declaration of the attorney seeking to appear pro hac vice.

Dated: 11/05/2024 /s/ Paulina Garga-Chmiel
Signature* (Print name if original signature)

*If this application is being signed by local counsel on behalf of the applicant, the signature constitutes consent to the
designation as associate counsel; otherwise such consent shall be filed separately.

Filer’s Name, Address, Phone, Fax, Email:

PAULINA GARGA-CHMIEL

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Joint Debtor:
Chapter: 7

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[lf adversary proceeding, complete the information below. Use “et al.” if multiple parties.] Adversary Proceeding No.:
Plaintiff(s):

VS.
Defendant(s):

DECLARATION OF COUNSEL
[Attach to Application to Appear Pro Hac Vice.]

Paulina Garga-Chmiel

10 South Wacker Drive, Suite 2300
Chicago, Illinois 60606

Email: PGarga@dykema.com

Name of Declarant;
Office Address; email:

|} am not a resident of the District of Hawaii, am not regularly employed in the District of Hawaii, and am not
regularly engaged in business, professional, or law-related activities in the District of Hawaii, and that:

1. The city and state of my residence and office address is:
Chicago, Illinois

2. (have been admitted to practice in the following courts on the dates noted:
Ilinois, 2013
Indiana 2021
United States District Court and Bankruptcy Court for the Northern District of Illinois, 2013
United States District Court and the Bankruptcy Court for the Central District of Illinois, 2014,
3. lantingéod’standing'ahfeligibte to‘practice 'in the folowing cotirts fvectbrant Tiay sthté “Alt ofthe ™

courts identified in paragraph 2”):
All of the Courts identified in paragraph 2

4. 1(a) am not currently involved in disciplinary proceedings before any state bar, federal bar, or any
equivalent; (b) have not in the past 10 years been suspended, disbarred, or otherwise subject to
other disciplinary proceedings before any state bar, federal bar, or its equivalent; (c) have not been
denied admission pro hac vice by any court or agency in the past 10 years; and (d) have not been
the subject of a criminal investigation known to the attorney or a criminal prosecution or conviction
in any court in the past ten (10) years.

5. If lam concurrently making or have made within the preceding year an application to appear pro hac
vice in a case or proceeding in the District of Hawaii, the title and number of each matter is stated

below, together with the date of the application and whether the application was granted.
N/A

6. I designate the following to serve as associate counsel who is a member in good standing of the bar of
the United States District Court for the District of Hawaii and maintains an office in this district, with

the address, telephone and fax numbers, and e-mail address noted:
Cuyler Shaw

c/o Ashford & Wriston LLP

999 Bishop Street, Ste. 1400

Honolulu, Hawaii 96813

7. Payment of the $300 assessment for limited admission has or will be made, using the U.S. Treasury
Internet Credit Card program if filing electronically, or by mailing a check to the Clerk, United States
Bankruptcy Court, District of Hawaii, 1132 Bishop Street, Suite 250, Honolulu, HI 96813 - Attn: Financial
Dept. (Payable to the Clerk, U.S. Bankruptcy Court, and noting the bankruptcy case or adversary
proceeding number).

| declare under penalty of perjury that the foregoing is true and correct. [Attach additional pages if any further
explanation is needed.]

Dated: 11/05/2024 /s/ Paulina Garga-Chmiel
Signature

CONSENT OF LOCAL COUNSEL

[Local counsel may sign below if consent is not recorded elsewhere. ]

Dated: 11/05/2024 /s/ Cuyler Shaw YW,
Signature Fevint W. eee

